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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,               )
                                         )
                     Plaintiff,          )
                                         )
 vs.                                     )     Case No. 91-CR-30106-02-MJR
                                         )
 RANDY CORNELL BLOUNT,                   )
                                         )
                     Defendant.          )

                   ORDER REGARDING MOTION TO REDUCE SENTENCE

 REAGAN, District Judge:

              By motion filed March 10, 2008, Defendant Blount seeks to reduce his

 sentence in the above-captioned case under 18 U.S.C. § 3582(c)(2). This Order ADVISES

 Defendant Blount how his motion will be handled in this District Court.

              On December 10, 2007, the United States Supreme Court scrutinized the

 crack-cocaine-to-powder-cocaine sentencing disparity contained in the U.S. Sentencing

 Guidelines and held that federal district courts can deviate from the Guidelines in

 appropriate circumstances. Kimbrough v. United States, – U.S. –, 128 S. Ct. 558

 (2007).   On December 11, 2007, the Sentencing Commission decided that the

 amendments in question (which reduce the base offense level associated with some crack

 cocaine offenses) would be retroactively applied as of March 3, 2008.

              On December 19, 2007, Chief Judge Herndon of this Court issued

 Administrative Order 102. That Order addressed the amendments to the Guidelines and

 the motions – like Blount’s – being filed in the wake of these amendments.
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              A copy of Administrative Order 102 was mailed to Blount by the Clerk’s

Office of this Court on March 10, 2008. Pursuant to that Order, the undersigned Judge

NOTIFIES Blount that his motion has been docketed in this Court as “Document # 128,"

the Federal Public Defender’s Office has been advised of this filing, and the United States

has been given a deadline to respond to the motion (see below).

              Although Administrative Order 102 appointed the Public Defender’s Office

to represent Defendant Blount in any proceedings relating to the motion to reduce

sentence, that appointment does not prevent Blount from retaining private counsel,

including any lawyer who may have represented Blount in earlier proceedings in this

Court or the Court of Appeals.

              Finally, Administrative Order 102 stated that the United States need not

respond before March 10, 2008. The undersigned Judge now CLARIFIES that the United

States shall file any response to Blount’s motion (Doc. 128) by April 4, 2008. If

necessary or appropriate, the Court – by separate Order – will provide an opportunity for

Defendant to file a reply brief and/or set a hearing on the motion.

              IT IS SO ORDERED.

              DATED this 11th day of March 2008.

                                                 s/ Michael J. Reagan
                                                 MICHAEL J. REAGAN
                                                 United States District Judge




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